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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                               CASE NO.: 4:05-CR-039-SPM

GIGI BEARD,

           Defendant.
________________________________/

                        ORDER CLARIFYING SENTENCE

       THIS CAUSE comes sua sponte before the Court. After pleading guilty to

three counts (conspiring to distribute and possess with intent to distribute more

than 50 kilograms of cocaine, possessing with intent to distribute cocaine, and

possessing a firearm in furtherance of a drug trafficking offense), Defendant was

sentenced on October 16, 2006 to a total of twenty-four months in the Bureau of

Prisons. In order to ensure that the sentence is structured correctly, and

recognizing that a written sentence should be referred to in order to clarify

ambiguities in the orally-pronounced sentence, Green v. United States, 447 F.2d

987 (9th Cir. 1971)(citations omitted), it is accordingly

       ORDERED AND ADJUDGED as follows:

       1.     Counts I and III each carry a four-month sentence, both to run

              concurrent with each other.

       2.     Count IV carries a twenty-month sentence to run consecutive to
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          Counts I and III.

    DONE AND ORDERED this twenty-third day of October, 2006.


                                s/ Stephan P. Mickle
                              Stephan P. Mickle
                              United States District Judge
